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                          UNITED STATES DISTRICT COURT

                          MIDDLE DISTRICT OF LOUISIANA


 MCARTHUR GRIFFIN                                                         CIVIL ACTION

 VERSUS

 REC MARINE LOGISTICS, LLC, ET
 AL.                                                            NO. 20-00092-BAJ-EWD

                                AMENDED JUDGMENT

       For written reasons assigned (Docs. 277, 289),

       IT IS ORDERED that the Court’s May 5, 2023 Judgment (Doc. 215) be and is

hereby AMENDED to reflect the following:

       1. The award for future medical expenses is remitted to $469,217.00; the

             award for past wage loss is remitted to $144,995.00; the award for future

             wage loss is remitted to $321,589.00; and the punitive damage award is

             remitted to $90,000.00. 1

       2. Plaintiff is awarded $80,430.00 in attorney’s fees against Defendant REC

             Marine Logistics, LLC.

       3. Plaintiff will receive prejudgment interest on the following damage awards

             only:

                a. Against Defendant Offshore Transport Services, LLC: 20% of the

                     total of past general damages, past wage loss, and past medical

                     expenses; and


1 On January 5, 2024, Plaintiff accepted this Court’s remittitur of the jury’s award. (See

Doc. 278).
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            b. Against Defendant REC Marine Logistics, LLC: the award of

               maintenance, but not punitive damages.

      IT IS FURTHER ORDERED that, to the extent it is not inconsistent with

the amended relief set forth herein, the Court’s May 5, 2023 Judgment be and is

hereby AFFIRMED.

                               Baton Rouge, Louisiana, this 8th day of March, 2024



                                      _____________________________________
                                      JUDGE BRIAN A. JACKSON
                                      UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF LOUISIANA




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